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                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY


   DOMINIC PORCORO,
                                                                   Case No: 3:1 6-cv-00 171 -PGS-TJB
                                  P Ia I ntiff,
                                                                  STIPULATION OF DISMISSAL




   REMEX, INC.,



                                Defendant.


        IT IS HEREBY STIPULATED AND AGREED by and between the undersigned counsel

 for all parties in the above captioned action, that this action is dismissed with prejudice and

 without costs to either party pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil

 Procedure.



 Dated: November 10, 2016

 /s/Yaakov Saks                                        Is/Peter Cipparulo, III
 Yaakov Saks. Esq.                                     Peter Cipparulo, III. Esq.
 RC Law Group, PLLC                                    Law Offices of Peter Cipparulo, III, LLC
 285 Passaic Street                                    349 Route 206, Suite K
 Hackensack. New Jersey 07601                          Hilisborough, New Jersey 08844
 Phone: 201-282-6500 Ext. 101                          Phone: 908-275-8777
 YSaksrclawgroup.com                                   petercipparulo@cipplaw.com
 Attorneys/or Plainiff                                 Attorneys for Defendant
